Case 2:25-cv-00197-JCZ-DPC Document 217 Filed 05/21/25 Page 1of3
U.S. Department of Justice P OCESS RECEIPT AND RETURN

United States Marshals Service See Vnstructions for Service of Process by U.S. Marshal"

PLAINTIFF COURT CASE NUMBER

HIRAN RODRIGUEZ Cau 2:25-CV-00197

DEFENDANT — - ' TYPE OF PROCESS

META PLATFORMS, INC., ET AL HW25 HAY Lb A & Sg [SUMMONS AND COMPLAINT

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE THIRD DISTRICT VOLUNTEER FIRE DEPARTMENT

ABest erqqenres
AT ADDRESS (Street or RED, Apartnent No.. City, State and AP Cite Ke a CHR!
704 CARONDELET STREET, NEW ORLEANS. LA 70130.
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be 4
served with this Form 285
Number of parties to be 27

served in this case

Cheek for service

onl SA

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
Alf Telephone Numbers, and Estimated Times Available for Service):

Signature of Atiorney other Originator requesting service on behalf of TELEPHONE NUMBER DATE

PLAINTIFF
: C od rt sys
(Puran Ke, VEGUEA [J DEFENDAN'

504-203-8459 04/04/2025
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
facknowledge receipt for the total | ‘Total Process) | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process imdicated Ongin Serve

(Sign ooh for USM QSS ifinore / ‘i of é 3 Y “Ho Dilecs 7
SpisReasn eos No j No _ ae
theatone CSAP 285 08 subintied) (
Chereby certs) and retum that! (7) have personally served . [2] have legal evidence of service. [] have executed as shown in "Remarks". the process described on the
individual, company, corporation, ete . at the address shown above on the on the individual, company. corporation, ete shown at the address inserted below
J

wy Thereby ceruly and return that Fant unable to locate the individual, company, corporation, ete named above (See remarks belaw)

Name and tle of individual served (nor shown above) Date Time Cl itt

{J pm

Address feomplete only different than showa above) Srenature oF US) Marshal or Deputy

Costs shown on attached USMS Cost Sheet >>
REATARKS

(') The acbhecs abe was wot Thicd District voluweer Fire Deportuent
oddlress, 16 wos a \ou Cen! ce) oF loy bos

Form USM-285

Rev ud/21
EASE FPS. GRY APRS DRAGHERS-727 FiBd ed RABS/25 pagGePIGe2F S

AO 440 (Rev, 06112} Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

HIRAN RODRIGUEZ

Plaintiff(s)

v. Civil Action No. 25-cv-197 A(2)

META PLATFORMS, INC., ET AL

Nm! Smee ee ee eee ee ee ee ee ee”

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's aane and address) Third District Volunteer Fire Department
10415 Jefferson Highway
River Ridge, LA 70123

A lawsuit has been filed against you.

Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a\(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Hiran Rodriguez

820 Grove Avenue
Metairie, LA 70003

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: __Feb 04 2025

CBSE SSCA RARE DBARHNHY47/ Fiibd CBRE 2> PaGeaorrt S

AQ 440 (Rev. 06/12) Sammons in a Civil Action (Page 2)

Civil Action No, 25-cv-197 A(2)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for fname of individual and title, if anv)

was received by me on (date)

I personally served the summons on the individual at @lece)

on (date) , or

(J I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons oft frame of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date;
( Treturned the summons unexecuted because sor
1 Other (specifiy:
My fees are $ for travel and $ for services, for a total of $ 0,00

] declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

